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 7
                                                                     The Honorable Benjamin H. Settle
 8
                               UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
10
     ROQUE "ROCKY" DE LA FUENTE,                               NO. 3:16-cv-058011-BHS
11
                                 Plaintiff,                    DECLARATION OF CALLIE A.
12                                                             CASTILLO IN SUPPORT OF
              v.                                               DEFENDANT'S MOTION FOR
13                                                             SUMMARY JUDGMENT
     KIM WYMAN, in her official capacity as
14   the Secretary of State of the State of
     Washington,
15
                                 Defendant.
16

17            I, Callie A. Castillo, declare as follows:

18   1.       I am over the age of 18, am competent to testify to these matters, and make this

19   declaration on my personal knowledge.

20   2.       I am a Deputy Solicitor General for the Attorney General’s Office and represent the

21   Secretary of State in election-related matters.

22   3.       Exhibit 1 is a true and correct copy of the Facebook post produced by Mr. De La Fuente

23   in response to the Secretary of State’s First Requests for Production.

24   4.       Exhibit 2 are true and correct copies of excerpts from the Deposition of Jody Grage

25   taken on August 24, 2017.

26

          DECLARATION OF CALLIE A.                         1              ATTORNEY GENERAL OF WASHINGTON
                                                                                1125 Washington Street SE
          CASTILLO IN SUPPORT OF                                                     PO Box 40100
          DEFENDANT'S MOTION FOR                                                Olympia, WA 98504-0100
          SUMMARY JUDGMENT --                                                        (360) 753-6200
          NO. 3:16-CV-058011-BHS
             Case 3:16-cv-05801-BHS Document 33-2 Filed 10/27/17 Page 2 of 23




 1   5.       Exhibit 3 are true and correct copies of excerpts from the Deposition of Lori Augino
 2   taken on September 5, 2017. The court reporter filed a Reporter's Errata Sheet on October 3,
 3   2017, to correct deficiencies in the initial transcript. The Errata Sheet has been attached to the
 4   certified copy.
 5            DATED this 4th day of October 2017, in Olympia, Washington.
 6

 7
                                                       LLIE A. CASTILLO
 8

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          DECLARATION OF CALLIE A.                      2                ATTORNEY GENERAL OF WASHINGTON
                                                                               1125 Washington Street SE
          CASTILLO IN SUPPORT OF                                                    PO Box 40100
          DEFENDANT'S MOTION FOR                                               Olympia, WA 98504-0100
          SUMMARY JUDGMENT --                                                       (360) 753-6200
          NO. 3:16-CV-058011-BHS
  X         Michael Jennie-   Case 3:16-cv-05801-BHS Document 33-2 Filed 10/27/17 Page 3 of 23
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JULY 8

      Michael Jennings updated his status.       If anyone knows anyone in the Seattle/Tacoma
                                                 Washington Area. we're having a convention for Rocky
                                                 De La Fuente atthe Walmart located at 1965 S Union
                                             4   Ave. Tacoma.'VVA 98405. We need to gather 3000
                                                 signatures between JL1IY 9M (.from 9am to 6pm) to July
                                                 22nd from 9am to 6pm). For more information please
                                                 call me at8l8-643-9713.


JULY 7


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                                                 Make. that 4 confirmed d ead o
                                                 their famines

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·1· · · · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · · · · · · · · · ·FOR THE

·3· · · · · · · · · ·WESTERN DISTRICT OF WASHINGTON

·4

·5· ROQUE "ROCKY" DE LA FUENTE,· · )
· · · · · · · · · · · · · · · · · ·)
·6· · · · · · · · Plaintiff,· · · ·)
· · · · · · · · · · · · · · · · · ·) Case No. 3:16-cv-05801
·7· · · vs.· · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · ·)
·8· KIM WYMAN, in her official· · ·)
· · Capacity as the Secretary of· ·)
·9· State of the State of· · · · · )
· · Washington,· · · · · · · · · · )
10· · · · · · · · · · · · · · · · ·)
· · · · · · · · · Defendant.· · · ·)
11· · · · · · · · · · · · · · · · ·)

12

13· · · · · · · · · · · · · · DEPOSITION OF

14· · · · · · · · · · · · · · ·JODY GRAGE

15· · · · · · · · · · · · ·SEATTLE, WASHINGTON

16· · · · · · · · · · · · · ·AUGUST 24, 2017

17

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24· REPORTED BY:· Kim Scheuerman, CCR 2517

25· FILE NO:· AB08FA5


                                     Jody Grage
                                   August 24, 2017               EXHIBIT 2   1
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·1
· · · · · · · · · · · UNITED STATES DISTRICT COURT
·2
· · · · · · · · · · · · · · · · ·FOR THE
·3
· · · · · · · · · · ·WESTERN DISTRICT OF WASHINGTON
·4

·5
· · ROQUE "ROCKY" DE LA FUENTE,· · )
·6· · · · · · · · · · · · · · · · ·)
· · · · · · · · · Plaintiff,· · · ·)
·7· · · · · · · · · · · · · · · · ·) Case No. 3:16-cv-05801
· · · · vs.· · · · · · · · · · · · )
·8· · · · · · · · · · · · · · · · ·)
· · KIM WYMAN, in her official· · ·)
·9· Capacity as the Secretary of· ·)
· · State of the State of· · · · · )
10· Washington,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · ·)
11· · · · · · · · Defendant.· · · ·)
· · · · · · · · · · · · · · · · · ·)
12

13

14· · · · · · · · · · ·Deposition of JODY GRAGE, taken on behalf

15· of Plaintiff, at 1420 Fifth Avenue, 33rd Floor, Seattle,

16· Washington, commencing at 1:00 p.m., Thursday, August 24, 2017,

17· before Kim Scheuerman, CCR No. 2517.

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                                      Jody Grage
                                    August 24, 2017               EXHIBIT 2   2
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·1· · · · · · · · · · · · A P P E A R A N C E S

·2

·3· FOR PLAINTIFF:

·4· · · IMPG Advocates
· · · · BY:· ·PAUL A. ROSSI
·5· · · 316 Hill Street
· · · · Mountville, PA 17554
·6
· · · · BADGLEY MULLINS TURNER, PLLC
·7· · · BY:· ·WESLEY G. FOREMAN
· · · · 1420 Fifth Avenue, Suite 3365
·8· · · Seattle, WA 98101
· · · · wforeman@badgleymullins.com
·9
· · FOR DEFENDANT:
10
· · · · ATTORNEY GENERAL OF WASHINGTON
11· · · DEPUTY SOLICITOR GENERAL
· · · · BY:· ·CALLIE A. CASTILLO
12· · · 1125 Washington Street SE
· · · · P.O. Box 40100
13· · · Olympia, WA 98504
· · · · calliec@atg.wa.gov
14

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                                     Jody Grage
                                   August 24, 2017               EXHIBIT 2   3
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·1· · · Q.· · What does the ballot -- the Green Party Ballot Access
·2· Committee do?
·3· · · A.· · As you are well aware, and this --
·4· · · Q.· · This may be the longer question you answer.
·5· · · A.· · Every state and the District of Columbia have different
·6· rules and regulations about ballot access.· Some of them are
·7· horrendously onerous and some of them are, you know, not that big
·8· a deal.· Some of the states are extremely rigorous in their
·9· reviewing of petitions and signatures.· If you don't put your
10· middle initial in and you did when you registered, then your
11· signature is thrown out, etcetera.
12· · · · · · Fortunately, here in Washington state, we were fairly
13· reasonable, and so we don't have that much difficulty.· But being
14· co-chair of the Ballot Access Committee, there are states where
15· you have to get 89,000 valid signatures to get on the ballot and
16· where you have to collect them from various places.· I mean,
17· there -- you would almost think they didn't want us on the
18· ballot.
19· · · Q.· · What a horrible thing to say.
20· · · A.· · I know.· I find it hard to believe, but the thought has
21· crossed our minds.
22· · · Q.· · That can't possibly be true.· I say that facetiously.
23· · · A.· · I was being facetious, too, sort of.
24· · · Q.· · Fair enough.· As the Ballot Access Committee co-chair
25· at the national level and your position as the -- a chapter


                                      Jody Grage
                                    August 24, 2017               EXHIBIT 2 12
                                                                             YVer1f
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·1· coordinator in Washington state for the Green Party, and your
·2· prior experience on the coordinating council, are you familiar
·3· with the process of how you get candidates, Green Party
·4· candidates on the state's general election ballot?
·5· · · · · · MS. CASTILLO:· Objection as to form.
·6· · · · · · MR. ROSSI:· Fair enough.
·7· · · Q.· · (By Mr. Rossi) Are you aware of the process to get
·8· candidates on the ballot --
·9· · · A.· · Yes.
10· · · Q.· · -- in Washington?
11· · · A.· · I've been working with the Green Party since the mid
12· '80s.· So I am one of the Border Collie types, the chief nags
13· that make sure things get done.· So I am well aware of what we
14· need to do.
15· · · Q.· · Did the Green Party nominate a candidate for president
16· in 2016?
17· · · A.· · Yes.
18· · · Q.· · What was that candidate's name?
19· · · A.· · Jill Stein and Ajamu Baraka was the vice presidential
20· candidate.
21· · · Q.· · Can you spell the last name?
22· · · A.· · For Jill or Ajamu?· B-a-r-a-k-a. First name A-j-a-m-u.
23· · · Q.· · Did you circulate petitions for Jill Stein to get her
24· on the Washington ballot in 2016?
25· · · A.· · I don't think "circulate" is the right word.


                                      Jody Grage
                                    August 24, 2017               EXHIBIT 2 13
                                                                             YVer1f
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·1· · · Q.· · Okay.
·2· · · A.· · Shall I explain to you what we did?
·3· · · Q.· · Please do.
·4· · · A.· · In this state, we need 1,000 ballot signatures.
·5· Generally, we turn in 1300, and that works fine.· The people at
·6· the Ballot Access Committee get a little panicked because a lot
·7· of states are very stringent, and they feel we should always get
·8· double.· And I said, we don't need to do that.· We have been
·9· doing this for years; 1300 is fine.
10· · · · · · So the process is that we get an announcement in the
11· paper of where we are going to hold a convention.· And it starts
12· at a particular time, the ending is -- it can go on as long as we
13· want it to.· And at that time and place we can gather signatures.
14· And I brought a copy of the notice that we have to put in the
15· paper.
16· · · Q.· · Thank you very much.· That was going to be one of my
17· questions.
18· · · A.· · Except that I didn't make a copy of it before I brought
19· it, so...
20· · · · · · MR. ROSSI:· Can we get a copy of this?
21· · · · · · MR. FOREMAN:· I think so.
22· · · · · · MS. CASTILLO:· If you want to go off the record.
23· · · · · · MR. ROSSI:· Off the record.
24· · · · · · (Recess taken.)
25· · · · · · (Exhibit No. 1 marked for identification.)


                                      Jody Grage
                                    August 24, 2017               EXHIBIT 2 14
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·1· found.· So it's like 435 bucks or something for a federal office.
·2· · · Q.· · So it's your understanding -- strike that.
·3· · · · · · Have you, aside from presidential candidates, have you
·4· helped to get state-wide candidates on to the ballot for the
·5· Green Party?
·6· · · A.· · Maybe not.
·7· · · Q.· · Okay.· So you're not familiar with those rules?
·8· · · A.· · No, except that there is a good guide here to look at,
·9· and I would think that if we had done petitioning for down-ticket
10· candidates, I would remember, and I don't.· So I think it's a
11· matter of paying the filing fee, which is modest.
12· · · Q.· · So, to your knowledge, this notice requirement of
13· holding a convention only applies for presidential candidates?
14· · · A.· · Yes.· And I think there are a few states that do it,
15· and Washington is also one of the few states where the only way
16· you can become a major party is to get 5 percent or more for the
17· presidential candidate.· There's no other avenue for becoming a
18· major party.· It's not what we're talking about, but it's another
19· piece.
20· · · Q.· · You said that other states -- and with your hat on as
21· the National Ballot Coordinator for Washington for the Green
22· Party, putting that hat on, do other states have a similar
23· process to get, to your knowledge, to place presidential
24· candidates on the ballot similar to Washington?
25· · · A.· · I -- I am not familiar with that.· I do know that


                                     Jody Grage
                                   August 24, 2017                EXHIBIT 2 16
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·1· compared to what a lot of other state parties have to go through,
·2· we don't regard this as onerous.· But that is -- you know, that's
·3· just in the context of what goes on across the country.
·4· · · Q.· · Are you aware of any other state that requires
·5· publication before you gather signatures?
·6· · · A.· · No.· I could probably look it up.· And I know a couple
·7· people -- other people on the committee who probably know, but I
·8· don't know.
·9· · · Q.· · But as you sit here now, you don't know --
10· · · A.· · I don't know.
11· · · Q.· · -- of any state that has this kind of requirement?
12· · · A.· · I don't know.· Right.
13· · · Q.· · Now, you have -- your testimony, correct, you've been
14· working to get Green Party presidential candidates on the
15· Washington ballot for 16 years, correct?
16· · · A.· · Or 20.· It's been awhile.
17· · · Q.· · So through that process, you've grown to know what the
18· rules and processes are to get a candidate on the ballot?
19· · · A.· · And we -- and it has worked every time.
20· · · Q.· · Congratulations.· Because not many states can say that.
21· · · A.· · I know.
22· · · Q.· · When you first started, was there a learning curve?
23· · · A.· · (No response.)
24· · · Q.· · Do you understand what I'm --
25· · · A.· · Yes, to some extent, because you have to find out what


                                     Jody Grage
                                   August 24, 2017                EXHIBIT 2 17
                                                                             YVer1f
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·1· as I say, try to get it in, you know, way early.· For one thing,
·2· so we know it's there.· For another thing, because the papers
·3· have various deadlines.· So it's best not to cut it close.· But
·4· because we were cutting it close, I called to ask and make sure
·5· we were all right.
·6· · · Q.· · Can I ask, why did you cut it close that time?
·7· · · A.· · I have no idea.
·8· · · Q.· · You don't know the circumstances?
·9· · · A.· · I don't remember.· I don't remember.· It may have been
10· that the venue wasn't secured.· It may have been that the
11· newspapers deadline had changed.· I mean, there's a number of
12· things that could have caused that to happen, and I don't
13· remember what it was.
14· · · Q.· · So even though the law is from here because you had
15· familiarity with the law, and you're aware of the requirements?
16· · · · · · MS. CASTILLO:· Objection to form.
17· · · · · · MR. ROSSI:· Strike that.
18· · · Q.· · Generally, your familiarity with the law makes it easy
19· for you to comply with the law, correct?
20· · · A.· · Yes.· May I elaborate a little?
21· · · Q.· · Absolutely.
22· · · A.· · It does take some diligence and perseverance and
23· knowing what you have to do.· And it does get easier over time.
24· I'm not the only one in the state that knows how to do this.· And
25· I do have my files.· But it does require some extra planning


                                     Jody Grage
                                   August 24, 2017                EXHIBIT 2 20
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·1· and -- but apart of what -- one of the things we decided to do in
·2· 2016, I mean, we can get 1,000 signatures at the ferry lines in
·3· two days.
·4· · · · · · But we decided that we wanted to ask our locals to
·5· gather signatures, which made it a little more bureaucratically
·6· complex, but we felt that it was a good party building activity.
·7· So we didn't just want to go down to the ferry dock in Seattle
·8· and do it.· We thought, okay, if we have our chapters doing it,
·9· and they -- they did a great job and they really liked it.· And I
10· think it was a good approach.· It was, as I say, it took a little
11· more bureaucratic wrangling, but it was well worth it.
12· · · Q.· · Now that you have raised that, let's raise that issue.
13· · · A.· · Okay.
14· · · Q.· · There are -- how many counties are there in Washington?
15· · · A.· · 39.
16· · · Q.· · Do you have Green Party members in all of the counties?
17· · · A.· · We have -- no, we don't.
18· · · Q.· · Do you have Green Party -- excuse me, strike that.
19· · · · · · Do you have Green Party members in the eastern part of
20· the state?
21· · · A.· · Some.· We have an active chapter in Spokane.· There is
22· one forming down in the Palouse, which is three counties in the
23· southeastern part of the state, which is going to be a hybrid
24· with the Green Party of Idaho.· The national party doesn't know
25· about this yet, but we can work it out.


                                     Jody Grage
                                   August 24, 2017                EXHIBIT 2 21
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·1· · · Q.· · How many Green Party members roughly do you have?
·2· · · A.· · We have 6,000 people in our database and about a tenth
·3· of those are actual members.
·4· · · Q.· · What does that mean?
·5· · · A.· · That means they have done one of those three things.
·6· · · Q.· · So --
·7· · · A.· · So we have like 600, maybe 700.
·8· · · Q.· · Six to 700 paid members or hardship waivers?
·9· · · A.· · Yes.· Right.
10· · · Q.· · The rest of them are in your database why?
11· · · A.· · Because they have expressed an interest in the Green
12· Party.· We like to think they are not members yet.
13· · · Q.· · Just have to close the deal?
14· · · A.· · Right.
15· · · Q.· · Now, of the 600, they are not all in counties where you
16· have an active chapter, correct?
17· · · A.· · Right.
18· · · Q.· · So some of them are dispersed throughout the state?
19· · · A.· · Yes.
20· · · Q.· · How many counties did you publish your notice for a
21· convention in 2016?
22· · · A.· · Oh, I would imagine -- oh, I didn't bring that little
23· list.· Probably six or seven.
24· · · Q.· · Can you name some of the counties that you published
25· in?


                                        Jody Grage
                                      August 24, 2017                EXHIBIT 2 24
                                                                                YVer1f
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·1· · · A.· · Yes.· Skagit, Jefferson, King; Thurston.· I don't think
·2· we went down to Clark.· Whatcom, I mentioned Skagit, Snohomish.
·3· · · Q.· · Snohomish?
·4· · · A.· · Snohomish.
·5· · · Q.· · Okay.· Now, if a Green Party member wanted to sign Jill
·6· Stein's petition in 2016, and they were not in one of these
·7· counties, how would they go about signing the petition?
·8· · · A.· · We did get some inquires from people who wanted to sign
·9· a petition, and we got some after, in fact.· We had the
10· signatures turned in and we said, great, that you want to do
11· that; not going to happen, but we have work for you to do.· So
12· there's a lot of things to do, even if you can't sign the
13· petition.· And Jill will be on our ballot.· I mean, their primary
14· concern was that they wanted to be sure that Jill and Ajamu were
15· on the ballot.
16· · · Q.· · But for those -- why were those individuals who
17· inquired getting her on the ballot, why were they not able to
18· sign?
19· · · A.· · Because there wasn't a notice in an area near them.          I
20· suppose, they could have gone to some place, but also, these
21· notices are good generally for two days.· And so you have to be
22· at the right time at the right place.
23· · · Q.· · What do you mean by these are good for -- these notices
24· are good for two days?
25· · · A.· · Well, they're not open-ended.· They say when the event


                                      Jody Grage
                                    August 24, 2017               EXHIBIT 2 25 YVer1f
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·1· anxiety or frustration on their part.· The end result is the
·2· candidate will be on the ballot.
·3· · · Q.· · But some people have said, "I want to sign a petition"?
·4· · · A.· · Yeah.
·5· · · Q.· · They wanted to take that act?
·6· · · A.· · Yes.
·7· · · Q.· · And they could not?
·8· · · A.· · True.· Well, it would have been -- in some cases they
·9· could not because the deadline had passed.· And in some cases,
10· they would have had to travel several hundred miles, but...
11· · · Q.· · And the only reason they would have had to travel is
12· because you could only gather signatures where the convention has
13· been noted?
14· · · A.· · Right.· May I make another parenthetical or remark?
15· · · Q.· · Sure.· This is your testimony.
16· · · A.· · I can understand that in other places having to do
17· something like this would be onerous and would get in the way of
18· the process.· And as co-chair of the National Ballot Access
19· Committee, I certainly feel that a good many of the conditions
20· that have been laid down in various states over time are -- do
21· limit voter choice.
22· · · · · · It happens that here the process, which in some other
23· places could be onerous, that we have, you know, adjusted to it
24· and it works.· Now, if it may be -- see, one of the problems with
25· being co-chair of the National Ballot Access Committee is there


                                     Jody Grage
                                   August 24, 2017                EXHIBIT 2 34
                                                                             YVer1f
          Case 3:16-cv-05801-BHS Document 33-2 Filed 10/27/17 Page 17 of 23

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·1· are tons of places, you know.· I would say certainly most states
·2· have a far harder time getting candidates on the ballot than we
·3· do.
·4· · · Q.· · I agree with you.
·5· · · A.· · So as far as where my energy goes, I focus more on the
·6· states where we need to have lawsuits or need to organize massive
·7· complex signature gathering campaigns.
·8· · · Q.· · What's -- in your eyes, what does this -- what purpose
·9· does this serve?
10· · · · · · MS. CASTILLO:· Objection as to form.
11· · · Q.· · (By Mr. Rossi) What does -- what -- based on your
12· experience, does this notification serve any purpose?
13· · · A.· · No.· Except that it makes -- it adds a bit to the
14· necessary bureaucracy.
15· · · Q.· · Are these notices free?
16· · · A.· · No.
17· · · Q.· · How much does a notice cost?
18· · · A.· · Maybe 75 bucks.· Maybe not that -- some places it's 75,
19· some places it's more like 30.· But you know --
20· · · Q.· · Is that --
21· · · A.· · -- if you only have to gather 1,000 signatures, then
22· you could do it in two or three places if you wanted to.· We just
23· decided to spread it out.
24· · · Q.· · In 2016, how much money did the Green Party have in the
25· bank to spend on the 2016 general election?


                                        Jody Grage
                                      August 24, 2017                EXHIBIT 2 35
                                                                                YVer1f
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                                                           EXHIBIT 2
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1                          UNITED STATES DISTRICT COURT
2                                        FOR THE
3                         WESTERN DISTRICT OF WASHINGTON
4          ________________________________________________________
5     ROQUE "ROCKY" DE LA FUENTE )
6                         Plaintiff,      )
7     v.                                  )Civil Action No.
8     KIM WYMAN, in her official )3:16-cv-05801
      capacity as the Secretary )
9     of State of the State of   )
      Washington,                )
10                               )
                    Defendant.   )
11    ________________________________________________________
12                     DEPOSITION OF LORI AUGINO
      ________________________________________________________
13
                                 10:30 a.m.
14                            September 5, 2017
               Offices of the Washington State Attorney General
15               1125 Washington Street Southeast, 6th Floor
                          Olympia, Washington 98504
16
17
18
19
20                             ATKINSON-BAKER, INC.
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25         REPORTED BY:     JUDITH A. ROBINSON-HALLBERG, CCR NO. 2171



                                                               EXHIBIT 3   1
                                       Lori Augino
                                    September 5, 2017
     Case 3:16-cv-05801-BHS Document 33-2 Filed 10/27/17 Page 20 of 23

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1                            A P P E A R A N C E S
2
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3
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                                                             EXHIBIT 3   2
                                     Lori Augino
                                  September 5, 2017
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 1    nominating petition?

 2        A.    Yes.

 3        Q.    And anyone can sign a nominating position, even if

 4    they hadn't seen a notice?

 5        A.    Yes.

 6        Q.    Okay.   In your view, what is the difference, from

 7    the standpoint of the person signing the petition, what is

 8    the difference between signing a petition where notice has

 9    been given and signing an initiative or referendum

10    petition?

11        A.    So they're different activities.

12              When you're attending a convention and you're there

13    to learn about the candidate and support a candidate or the

14    platform for that minor party, you're signing you're

15    supporting that candidate moving on to the general election

16    ballot.

17              When you're signing a referendum or an initiative

18    sheet, that is -- that is just a different process that's

19    outlined in law that allows a citizen direct access to make

20    a law or change a law that's already in effect.

21        Q.    But if the operative act is signing a petition,

22    what is the difference between the act of signing a

23    nominating petition and the act of signing a referendum

24    petition?

25        A.    I think the intent in law is that, as I'm signing a



                                                             EXHIBIT 3   43
                                     Lori Augino
                                  September 5, 2017
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 1                          C E R T I F I C A T E

 2

 3    STATE OF WASHINGTON )
                          ) SS.
 4    COUNTY OF KING      )

 5

 6             I, Judith A. Robinson, Certified Court Reporter and

 7    an officer of the Court under my commission as a Notary

 8    Public, in and for the State of Washington, do hereby

 9    certify that the foregoing deposition was transcribed under

10    my direction; that the transcript of the deposition is a

11    full, true and correct transcript to the best of my

12    ability; that I am neither attorney for, nor a relative or

13    employee of any of the parties to the action or any

14    attorney or Counsel employed by the parties hereto, nor

15    financially interested in its outcome.

16                   IN WITNESS WHEREOF, I have hereunto set my

17    hand and affixed my official seal this 12th day of

18    September, 2017.

19

20                       (Signature not requested.)

21                              _________________________________

22
                                Judith A. Robinson, Notary Public
23                               in and for the State of Washington
                                 residing at Seattle.
24                               My Commission expires November 4,
                                 2020.
25                               CCR License #2171

                                                             EXHIBIT 3
                                     Lori Augino
                                  September 5, 2017
         Case 3:16-cv-05801-BHS Document 33-2 Filed 10/27/17 Page 23 of 23




October 3rd, 2017


Callie A. Castillo, Esq
Attorney General of Washington
1125 Washington Street Southeast
Olympia, WA 98504

Reporter’s errata re: Roque "Rocky" De La Fuente vs. Kim Wyman
ABI FILE NO.: AB091BF
Deposition of Lori Augino, taken September 05, 2017

Dear Mr. Wilkins,

The court reporter has noted the following correction to the transcript in the above matter:

Page 19, Line 22: “position” should be “petition”
Page 19, Line 25: “position” should be “petition”
Page 20, Line 4: “position” should be “petition”
Page 48, Line 11: “part” should be “party”
Page 51, Line 12: Signature was not waived
Page 52, Line 20: Signature was not waived


Please keep this letter with the transcript making it a part thereof. Mr. Rossi has been copied hereto so
that he may do the same.

If I can be of further assistance, or if you have any questions, please contact me at 800-288-3376, ext.
3190


Sincerely,



Mike Deffenbaugh
Customer Service Representative


CC:      Paul Rossi, Esq
         File


                                                                                   EXHIBIT 3
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